     Case 2:19-cr-00282-RGK Document 227 Filed 08/04/21 Page 1 of 7 Page ID #:1900



1    TRACY L. WILKISON
     Acting United States Attorney
2    SCOTT M. GARRINGER
     Assistant United States Attorney
3    Chief, Criminal Division
     POONAM G. KUMAR (Cal. Bar No. 270802)
4    ROGER A. HSIEH (Cal. Bar No. 294195)
     GREGORY D. BERNSTEIN (Cal. Bar No. 299204)
5    Assistant United States Attorneys
6    Major Fraud/General Crimes Sections
          1100 United States Courthouse
7         312 North Spring Street
          Los Angeles, California 90012
8         Telephone: (213) 894-0719/0600/3183
          Facsimile: (213) 894-6269
9         E-mail:    poonam.kumar@usdoj.gov
                     roger.hsieh@usdoj.gov
10                   gregory.bernstein@usdoj.gov
11   Attorneys for Plaintiff
     UNITED STATES OF AMERICA
12
                              UNITED STATES DISTRICT COURT
13
                       FOR THE CENTRAL DISTRICT OF CALIFORNIA
14
     UNITED STATES OF AMERICA,                No. CR 19-282-RGK
15
16              Plaintiff,                     GOVERNMENT’S TRIAL BILL OF
                                               PARTICULARS RE: FORFEITURE
17                    v.

18   ZHONGTIAN LIU,
        aka “Liu Zhongtian,”
19      aka “Chairman,”
        aka “Uncle Liu,”
20      aka “UL,”
        aka “Big Boss,” et al.,
21
                Defendants.
22
23
24
25
           Notice is hereby given that the government, pursuant to the
26
     forfeiture allegations set out in the Indictment and 18 U.S.C.
27
28
     Case 2:19-cr-00282-RGK Document 227 Filed 08/04/21 Page 2 of 7 Page ID #:1901



1    §§ 981 (a)(1)(A) & (C), 982; 545; 19 U.S.C. § 1595a(a); and 28
2    U.S.C. § 2461(c), intends to seek the criminal forfeiture of the
3    following specific property:
4          a.    Approximately 279,808 aluminum structures in the shape of
5    pallets;
6          b.    Real Property Located at 14600 Innovation Drive, Riverside,
7    California, particularly described as follows:
8          LOTS 5 AND 6 OF TRACT NO. 30857-1 IN THE UNINCORPORATED
9
           TERRITORY OF THE COUNTY OF RIVERSIDE, STATE OF CALIFORNIA,
10
           AS PER MAP FILED IN BOOK 371, PAGES 20 THROUGH 38 INCLUSIVE
11
           OF MAPS IN THE OFFICE OF THE COUNTY RECORDER OF SAID COUNTY
12
           EXCEPTING: ALL RIGHT, TITLE, AND INTEREST IN THE OIL, GAS
13
           AND OTHER MINERALS THAT MAYBE TAKEN, SAVED, PRODUCED OR
14
           EXTRACTED FROM THE PROPERTY; AND GRANTOR DOES HEREBY WAIVE,
15
           FOR ITSELF AND ITS SUCCESSORS AND ASSIGNS, ITS RIGHTS TO
16
           USE THE SURFACE OF THE PROPERTY FOR EXPLORING, DRILLING,
17
           PRODUCING, OR ANY OTHER ACTIVITY IN CONNECTION WITH SAID
18
19         RESERVED MINERAL INTERESTS BUT SHALL RESERVE, FOR ITSELF

20         AND ASSIGNS, THE RIGHT TO DEVELOP AND PRODUCE SUCH OIL, GAS

21         AND OTHER MINERALS BY POOLING OR BY DIRECTIONALLY OR

22         HORIZONTALLY DRILLING FROM SURFACE SITES LOCATED ON OTHER

23         LANDS, PROVIDED THAT UNDER NO CIRCUMSTANCES SHALL THERE BE
24         ANY PENETRATIONS ONTO THE SURFACE OF PROPERTY AND FURTHER
25         PROVIDED THAT NO PENETRATION OF THE SUBSURFACE MAY BE MADE
26         AT A DEPTH WHICH IS LESS THAN 200 FEET BELOW THE SURFACE OF
27         THE PROPERTY AND THAT UNDER NO CIRCUMSTANCE MAY GRANTOR
28         DISTURB OR INTERFERE WITH ANY ABOVE SURFACE OR SUBSURFACE



                                             2
     Case 2:19-cr-00282-RGK Document 227 Filed 08/04/21 Page 3 of 7 Page ID #:1902



1          BUILDINGS OR IMPROVEMENTS LOCATED ON THE PROPERTY, AS
2          RESERVED IN DEEDS RECORDED MARCH 22, 2012 AS INSTRUMENT NO.
3          2012-0133673 OF OFFICIAL RECORDS. TAX ID: 297230031-7;
4          c.    Real Property Located at 2323 Main Street, Irvine,
5    California, particularly described as follows:
6
           PARCEL 1, AS SHOWN ON A MAP FILED IN BOOK 107, PAGES 34 AND
7
           35 OF PARCEL MAPS, IN THE OFFICE OF THE COUNTY RECORDED OF
8
           ORANGE COUNTY, CALIFORNIA. EXCEPTING THEREFROM THAT PORTION
9
           DESCRIBED IN DEED TO THE CITY OF IRVINE RECORDED AUGUST 9,
10
           1993 AS INSTRUMENT NO. 93- 0531590 OF OFFICIAL RECORDS OF
11
           SAID ORANGE COUNTY. ALSO EXCEPTING ALL OIL, OIL RIGHTS,
12
           MINERALS, MINERAL RIGHTS, NATURAL GAS RIGHTS AND OTHER
13
           HYDROCARBONS BY WHATSOEVER NAME KNOWN, THAT MAY BE BELOW
14
           THE UPPER 500 FEET OF THE SUBSURFACE OF SAID LAND, TOGETHER
15
16         WITH THE PERPETUAL RIGHT OF DRILLING, MINING, EXPLORING AND

17         OPERATING THEREFOR AND STORING IN AND REMOVING THE SAME

18         FROM SAID LAND OR ANY OTHER LAND, INCLUDING THE RIGHT TO

19         WHIPSTOCK OR DIRECTIONALLY DRILL AND MINE FROM LANDS OTHER

20         THAN THOSE HEREINABOVE DESCRIBED, OIL OR GAS WELLS, TUNNELS
21         AND SHAFTS INTO, THROUGH OR ACROSS THE SUBSURFACE OF THE
22         LAND HEREINABOVE DESCRIBED, AND TO BOTTOM SUCH WHIPSTOCKED
23         OR DIRECTIONALLY DRILLED WELLS, TUNNELS AND SHAFTS UNDER
24         AND BENEATH OR BEYOND THE EXTERIOR LIMITS THEREOF, AND TO
25         REDRILL, RETUNNEL, EQUIP, MAINTAIN, REPAIR, DEEPEN AND
26
           OPERATE ANY SUCH WELLS OR MINES WITHOUT, HOWEVER, THE RIGHT
27
           TO DRILL, MINE, STORE, EXPLORE OR OPERATE THROUGH THE
28
           SURFACE OR THE UPPER 500 FEET OF THE SUBSURFACE OF THE LAND



                                             3
     Case 2:19-cr-00282-RGK Document 227 Filed 08/04/21 Page 4 of 7 Page ID #:1903



1          HEREINABOVE DESCRIBED, AS RESERVED BY THE IRVINE INDUSTRIAL
2          COMPLEX, A CORPORATION IN DEED RECORDED SEPTEMBER 8, 1972
3          IN BOOK 10316, PAGES 103 AND 108 OF OFFICIAL RECORDS. TAX
4          ID: 435-151-61;
5          d.    Real Property Located at 10681 Production Avenue, Fontana,
6
     California, particularly described as follows:
7
           PARCEL 1: PARCEL B AS SHOWN ON LOT LINE ADJUSTMENT NO. 04-
8
           032 AS EVIDENCED BY DOCUMENT RECORDED MARCH 03, 2005 AS
9
           INSTRUMENT NO. 2005-0151639 OF OFFICIAL RECORDS, BEING MORE
10
           PARTICULARLY DESCRIBED AS FOLLOWS: PARCEL 14 OF PARCEL MAP
11
           NO. 16264, IN THE CITY OF FONTANA, COUNTY OF SAN
12
           BERNARDINO, STATE OF CALIFORNIA, AS PER MAP FILED IN BOOK
13
           203 PAGES 67 TO 71 INCLUSIVE, OF PARCEL MAPS, RECORDS OF
14
           SAID COUNTY. EXCEPTING THEREFROM THE NORTHERLY 289.37 FEET
15
16         OF SAID PARCEL 14. TOGETHER WITH PARCEL 15 OF SAID PARCEL

17         MAP NO. 16264. EXCEPTING THEREFROM THE SOUTHERLY 70.63 FEET

18         OF SAID PARCEL 15. EXCEPTING THEREFROM THE ENTIRE MINERAL

19         ESTATE IN THE PROPERTY DESCRIBED LYING NOT LESS THAN 500

20         FEET BENEATH THE NATURAL SURFACE RESERVED IN THE DEED FROM
21         SOUTHERN PACIFIC LAND COMPANY, A CALIFORNIA CORPORATION,
22         RECORDED DECEMBER 18, 1987 AS INSTRUMENT NO. 87-442421
23         OFFICIAL RECORDS AND RESERVED BY FONTANA PARTNERS, A
24         CALIFORNIA GENERAL PARTNERSHIP, IN GRANT DEED RECORDED
25         DECEMBER 18, 1987, AS INSTRUMENT NO. 37-442746, OFFICIAL
26
           RECORDS. PARCEL 2: NON-EXCLUSIVE EASEMENTS AS SET FORTH IN
27
           THAT CERTAIN DECLARATION OF COVENANTS, CONDITIONS AND
28



                                             4
     Case 2:19-cr-00282-RGK Document 227 Filed 08/04/21 Page 5 of 7 Page ID #:1904



1          RESTRICTIONS FOR SIERRA BUSINESS PARK RECORDED AUGUST 18,
2          2004 AS INSTRUMENT NO. 2004-0599434 OFFICIAL RECORDS.
3          PARCEL 3: NON-EXCLUSIVE ROAD AND DRIVEWAY EASEMENTS FOR
4          ACCESS, INGRESS AND EGRESS OVER THE WESTERLY 40.00 FEET OF
5          THE EASTERLY 45.00 (ROAD), AND OVER THE EASTERLY 5 FEET
6
           (DRIVEWAY) OF THOSE CERTAIN PARCELS OF LAND DESCRIBED IN
7
           THAT CERTAIN LOT LINE ADJUSTMENT RECORDED MARCH 3, 2005 AS
8
           INSTRUMENT NO. 2005-151639, OFFICIAL RECORDS (SAID EASEMENT
9
           PROVIDES ACCESS, INGRESS AND EGRESS TO AND FROM SANTA ANA
10
           AVENUE), ALL AS MORE PARTICULARLY PROVIDED IN THAT CERTAIN
11
           “GRANT AND DECLARATION OF EASEMENTS AND MAINTENANCE
12
           AGREEMENT” RECORDED AUGUST 1, 2006 AS INSTRUMENT NO. 2006-
13
           0523344, OFFICIAL RECORDS OF SAN BERNARDINO COUNTY
14
           CALIFORNIA. TAX ID: 0255-XXX-XX-XXXX; and
15
16         e.    Real Property Located at 1001 S. Doubleday Avenue, Ontario,

17   California, particularly described as follows:

18         THE LAND REFERRED TO HEREIN BELOW IS SITUATED IN THE COUNTY

19         OF SAN BERNARDINO, STATE OF CALIFORNIA, AND IS DESCRIBED AS

20         FOLLOWS: PARCEL NO. 1: PARCELS 7, 8 AND 9, PARCEL MAP NO.
21         8776, IN THE CITY OF ONTARIO, COUNTY OF SAN BERNARDINO,
22         STATE OF CALIFORNIA AS PER MAP RECORDED IN BOOK 101 OF
23         PARCEL MAPS PAGES 77 TO 89, INCLUSIVE, RECORDS OF SAID
24         COUNTY, AS AMENDED BY CERTIFICATE OF CORRECTION RECORDED
25         APRIL 13, 1987 AS INSTRUMENT NO. 87-119915, OFFICIAL
26
           RECORDS OF SAN BERNARDINO COUNTY; SAID LAND IS ALSO
27
           DESIGNATED AS LOT “A” OF PARCEL MAP NO. 8776 BY CERTIFICATE
28
           APPROVING LOT LINE ADJUSTMENT OWNERS CERTIFICATE NO. L87-4,



                                             5
     Case 2:19-cr-00282-RGK Document 227 Filed 08/04/21 Page 6 of 7 Page ID #:1905



1          RECORDED JULY 22, 1987 AS INSTRUMENT NO. 87-250289,
2          OFFICIAL RECORDS OF SAN BERNARDINO COUNTY. EXCEPTING
3          THEREFROM ALL OIL, PETROLEUM, HYDROCARBONS, GAS, BREA,
4          ASPHALTUM AND ALL KINDRED SUBSTANCES AND OTHER MINERALS
5          LYING BELOW A DEPTH OF 500 FEET FROM THE SURFACE WITHOUT
6
           THE RIGHT OF SURFACE ENTRY, AS CONVEYED IN THE DEED TO
7
           ACTION TRADING COMPANY, A NEVADA CORPORATION, BY DEED
8
           RECORDED JULY 30, 1968 IN BOOK 7068 PAGE 672, OFFICIAL
9
           RECORDS OF SAN BERNARDINO COUNTY. PARCEL NO. 2: NON-
10
           EXCLUSIVE EASEMENT FOR RAILROAD PURPOSES OVER THOSE PARCELS
11
           DESIGNATED AS SERVIENT TENEMENT PARCELS FOR THE PARCELS
12
           CONVEYED HEREBY AS SUCH PARCELS AND EASEMENTS ARE DESCRIBED
13
           IN DECLARATION ESTABLISHING AGREEMENT AND GRANT OF RAILROAD
14
           EASEMENT RECORDED ON SEPTEMBER 17, 1986 AS INSTRUMENT NO.
15
16         86-268236, OFFICIAL RECORDS OF SAN BERNARDINO COUNTY.

17         PARCEL NO. 3: NON-EXCLUSIVE EASEMENT FOR DRAINAGE PURPOSES

18         OVER THOSE PARCELS DESIGNATED AS SERVIENT TENEMENT PARCELS

19         FOR THE PARCELS CONVEYED HEREBY AS SUCH EASEMENT IS MORE

20         PARTICULARLY DESCRIBED IN THE DECLARATION ESTABLISHING
21         AGREEMENT AND GRANT OF STORM DRAIN EASEMENT RECORDED ON
22         SEPTEMBER 17, 1986 AS INSTRUMENT NO. 86-268235, OFFICIAL
23         RECORDS OF SAN BERNARDINO COUNTY AND RE-RECORDED ON
24         SEPTEMBER 30, 1986 AS INSTRUMENT NO. 86-283863, OFFICIAL
25         RECORDS OF SAN BERNARDINO COUNTY. PARCEL NO. 4: EASEMENTS
26
           AS SET FORTH IN THE SECTION ENTITLED “RIGHTS AND DUTIES OF
27
           OWNERS” AND “PARTY WALLS AND FENCES” OF THE DECLARATION OF
28
           COVENANTS, CONDITIONS AND RESTRICTIONS RECORDED ON



                                             6
     Case 2:19-cr-00282-RGK Document 227 Filed 08/04/21 Page 7 of 7 Page ID #:1906



1          SEPTEMBER 23, 1983 AS INSTRUMENT NO. 83-223429, OFFICIAL
2          RECORDS OF SAN BERNARDINO COUNTY, AS AMENDED BY INSTRUMENT
3          RECORDED JUNE 16, 1986 AS INSTRUMENT NO. 86- 156839, OF
4          OFFICIAL RECORDS OF SAN BERNARDINO COUNTY. TAX ID: 0211-
5          XXX-XX-XXXX.
6
7
      Dated: August 4, 2021                Respectfully submitted,
8
                                           TRACY L. WILKISON
9                                          United States Attorney

10                                         SCOTT M. GARRINGER
                                           Assistant United States Attorney
11                                         Chief, Criminal Division
12
                                                 /s/
13                                         POONAM G. KUMAR
                                           ROGER A. HSIEH
14                                         GREGORY D. BERNSTEIN
                                           Assistant United States Attorneys
15                                         Major Fraud/General Crimes Sections
16
                                           Attorney for Plaintiff
17                                         UNITED STATES OF AMERICA

18
19
20
21
22
23
24
25
26
27
28



                                             7
